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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


UNITED STATES SECURITIES AND
EXCHANGE COMMISSION,

                                               Plaintiff,

v.

RAY C. DAVIS, and                                             Civil Action No.
BEHAVIORAL RECOGNITION SYSTEMS,
INC.,                                                         (Jury Trial Demanded)
n/k/a GIANT GRAY, INC.

                                           Defendants,

and

BLACKSTONE GROUP, INC.,
AFCON COMMUNICATIONS, INC., and
DEBRA S. DAVIS,

                                    Relief Defendants.


                                          COMPLAINT

       Plaintiff Securities and Exchange Commission (“the Commission”) alleges as follows:

                                           SUMMARY

       1.    Ray C. Davis and Behavioral Recognition Systems, Inc. (now known as Giant Gray,

Inc.) (“BRS”) engaged in a fraudulent scheme that began as early as March 2010. As part of the

scheme, the Defendants solicited over $28 million from investors in seven equity security offerings

between January 2013 and July 2015 (the “Relevant Period”). To raise the funds, BRS made

material misrepresentations and misleading statements to investors regarding BRS’s (1) intended

use of investor proceeds; (2) executive compensation; (3) related party transactions; and (4)

operating expenses.


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       2.    Davis participated in and substantially assisted BRS’s material misstatements to

investors. He was the highest-ranking executive at BRS and the executive in charge of fund

raising. Davis was also responsible for the company’s offering documents, which contained

multiple false and misleading statements. He participated in drafting them, approved them,

authorized their distribution to prospective investors, and personally used them to raise funds for

BRS from prospective investors.

       3.      Although BRS claimed in the offering documents that investor funds would

be used for “growth,” “mezzanine funding,” “working capital,” and “general corporate

purposes” to build BRS’s business, as Defendants raised the $28 million from investors,

Davis siphoned approximately $7.8 million for his own use and benefit, engaging in a

fraudulent scheme that began in at least March 2010, and continued throughout the

Relevant Period.

       4.    From at least March 2010, Davis used shell corporations that he controlled to divert

approximately $11 million ($7.8 million during the Relevant Period) of the BRS investors’ funds

for his personal benefit. To make the payments to the shell companies appear legitimate, Davis

submitted, or caused to be submitted, to BRS dozens of invoices falsely claiming that these shell

companies provided services to BRS.

       5.    Contrary to the statements in the offering documents, Davis used the diverted investor

funds for his own purposes, including: (a) $5.2 million in transfers to Davis’s and his wife’s joint

bank account; (b) purchases from an art gallery in Boca Raton, Florida; and (c) payments to a well-

known auction house.

       6.    Davis also caused BRS to send an additional $679,000 to an antiques broker to pay

for Davis’s personal purchases of ancient jewelry, gold, and other artifacts, including gold




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pendants, gold crosses, pearl bracelets, garnet pendants, and gold rings. To make these payments

appear legitimate, Davis created a fake entity called “LS Farrow” and on at least three occasions

submitted, or caused to be submitted, invoices to BRS that falsely claimed “LS Farrow” operated

from Victoria, Australia and provided “financial services” to the company. But, in reality, no such

entity exists and no such services were ever provided. In fact, the Victoria, Australia address Davis

used on the invoices was really the address for a cemetery in Australia where a person named LS

Farrow is interred.

         7.    By engaging in the fraudulent and deceptive conduct described in this Complaint,

Defendants violated and, unless enjoined, will continue to violate the following provisions of the

federal securities laws:

               a. Section 17(a) of the Securities Act of 1933 (“Securities Act”) [15 U.S.C. §

                 77q(a)]; and

               b. Section 10(b) of the Securities Exchange Act of 1934 (“Exchange Act”) [15

                 U.S.C. § 78j(b)] and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5].

         8.    The Commission seeks injunctive relief, disgorgement of ill-gotten gains with

prejudgment interest, civil penalties, and other appropriate equitable relief from Defendants.

                                 JURISDICTION AND VENUE

         9.    This Court has jurisdiction over this action under Sections 20(b), 20(d) and 22(a)

of the Securities Act [15 U.S.C. §§ 77t(b), 77t(d), 77v(a)] and Sections 21(d)(1), 21(d)(3)(A),

21(e), and 27 of the Exchange Act [15 U.S.C. §§ 78u(d)(1), 78u(d)(2), 78u(d)(3)(A), 78u(e), and

78aa].

         10.   Defendants have, directly and indirectly, made use of the means or instruments of

transportation or communication in interstate commerce, and the means or instrumentalities of




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interstate commerce, or of the mails in connection with the acts, transactions, practices, and

courses of business described in this Complaint.

        11.   Venue is proper in this Court pursuant to Securities Act Section 22(a) [15 U.S.C. §

77v(a)] and Exchange Act Section 27 [15 U.S.C. § 78aa]. At all times relevant to this

Complaint, BRS was headquartered in Houston, Texas. In addition, certain of the acts,

transactions, practices and courses of business that form the basis for the violations alleged in the

complaint occurred in this District. Finally, Davis can be found in, and is a resident of, this

District.

                                         DEFENDANTS

        12.   Behavioral Recognition Systems, Inc., now known as Giant Gray, Inc., is a Texas

corporation whose principal place of business is Houston, Texas. BRS was founded in 2005 and

sold video analytic software that allows linked video cameras or other systems to recognize certain

abnormal or suspicious events chosen by the user.

        13.   Ray C. Davis, age 62, is a resident of Spring, Texas. Davis is BRS’s founder and

served as its Chairman of the Board from approximately 2005 to September 2015. Davis also

served as BRS’s CEO from 2005 until August 2014. Davis and one of his sons were the only

authorized signatories on BRS’s bank accounts.

                                    RELIEF DEFENDANTS

        14.   Blackstone Group, Inc. (“Blackstone”), is a Colorado corporation formed in 2007

and controlled by Davis since at least February 2010. From at least February 2010, Davis served

as the President and Director of Blackstone. In February 2010, Davis also established a bank

account in Blackstone’s name, which Davis exclusively controlled. From March 2010 to March

2015, Davis fraudulently caused BRS to wire approximately $6.9 million to the Blackstone




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account he opened for his own personal use and benefit. To make those payments appear

legitimate, Davis submitted, or caused to be submitted, to BRS fake invoices claiming that

Blackstone had provided services to BRS when, in fact, it had not.

       15.   Afcon Communications, Inc. (“Afcon”), is a Wyoming corporation formed in

February 2013, which Davis owned and controlled during the Relevant Period. The mailing

address for Afcon is the Cheyenne address of a company that has been described in at least one

news article as specializing in shell company incorporation. In January 2014, Davis established

a bank account in Afcon’s name, which Davis exclusively controlled. From January 2014 to

March 2015, Davis fraudulently caused BRS to wire approximately $4.2 million to the Afcon

account he opened for his own personal use and benefit. As with the payments to Blackstone, to

make the payments to Afcon appear legitimate, Davis submitted, or caused to be submitted, to

BRS fake invoices claiming that Afcon had provided services to BRS when, in fact, it had not.

       16.   Debra S. Davis, age 60, is Davis’s wife and resides in Spring, Texas. From 2013 to

2016, again contrary to representations made to BRS investors in the offering documents, Davis

transferred to the joint account he shares with his wife approximately $5.2 million of the funds

he siphoned from BRS to Blackstone and Afcon. Then, in October 2016, approximately $1.95

million of the diverted BRS funds was wired from the Davises’ joint account to a bank account

in Debra S. Davis’s name only.

                                              FACTS

       A.      Background

       17.     BRS is a software development company that marketed proprietary artificial

intelligence software called “AISight” to detect suspicious behavior in video surveillance footage.

According to BRS marketing materials, AISight learned from sources such as cameras, tape, and




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video files how to recognize “aggressive, abnormal, and suspicious behavior.” The software then

generated alerts in real time for human review and action.

      18.    Davis founded BRS in 2005 and served as its Chairman of the Board until September

2015; he also served as CEO from 2005 until August 2014. Davis was the highest-ranking

executive at BRS and was responsible for the company’s fund raising.

      19.    BRS’s audited financials for 2013 and 2014 reflect that the company was in dire

financial condition during this period. For 2013, total sales were approximately $3.6 million, and

the company had a net loss of $15.9 million. For 2014, total sales were only $765,000, and the

company had a net loss of $37.7 million.

      20.    Beginning in at least 2010 and continuing throughout the Relevant Period, Davis

and BRS engaged in a fraudulent scheme to raise money from BRS investors and to then divert it

for Davis’s personal use and benefit. To execute the scheme, Defendants raised money from

investors using offering documents with material misstatements and omissions. Davis then used

shell companies that he controlled (Blackstone and Afcon), another fictitious entity (LS Farrow),

and fake invoices to siphon millions of dollars of BRS’s investors’ funds for his personal benefit.

       B.      Defendants Raised Millions of Dollars from Investors Using Offering
               Documents That Contained Materially False and Misleading Statements

       21.   Between January 2013 and July 2015, Defendants raised approximately $28 million

from investors through seven equity security offerings:




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     Equity Offering        Date of Offering              Shares Sold              Amount Raised
                                                         2.3 million shares
 1                          2/21/13 – 12/23/13                                         $     11,500,000
                                                      Preferred Class B Stock

                                                           65,000 shares
 2     2013 Offerings        3/12/13 – 3/31/13                                         $         325,000
                                                      Preferred Class A Stock

                                                          235,732 shares
 3                          6/4/2013 – 11/27/13                                        $         707,196
                                                          Common Stock

                                                          341,000 shares
 4                           1/10/14 – 7/21/14                                         $       1,706,960
                                                      Preferred Class B Stock
       2014 Offerings
                                                       3.875 million shares
 5                            6/6/14 – 1/5/15                                          $     11,625,312
                                                         Common Stock
                                                          290,200 shares
 6                           1/12/15 – 4/22/15                                         $         870,600
                                                          Common Stock
       2015 Offerings
                                                          262,075 shares
 7                           3/13/15 – 7/28/15                                         $       1,310,375
                                                      Preferred Class B Stock

                                                                 Total Raised      $       28,045,443
                                      Approximate Total Misappropriated
                                                                        ~ $7,800,000 (28%)
                                                    (% of Funds Raised)

      22.   To obtain the funds from prospective investors in each of these seven offerings,

however, BRS made materially false and misleading statements in its offering documents

concerning (1) use of proceeds; (2) executive compensation; (3) related party transactions; and (4)

operating expenses.

      23.   Specifically, Defendants distributed to potential investors the following offering

documents containing the material misstatements and omissions:

              a. February 1, 2013 Private Placement Memorandum (“2013 PPM”)
              b. June 1, 2012 Private Placement Memorandum (“2012 PPM”) (used in the
                 March 2013 offering)
              c. 2013 Executive Summary (Preferred)
              d. 2013 Executive Summary (Common)
              e. 2014 Executive Summary
              f. 2015 Executive Summary
              g. 2015 Power Point Presentation
              h. January 2015 Confidential Information Memorandum (“2015 CIM”)


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           a. Use of Proceeds

       24.    In each of the eight offering documents identified above, BRS made material

misrepresentations and misleading statements regarding how it would use investor funds. For

example:

                a. In the 2012 PPM and 2013 PPM, BRS stated that investor proceeds would be
                   used for working capital and general corporate purposes. Similarly, in the 2015
                   CIM, BRS stated that investor proceeds would be used for working capital and
                   general corporate purposes, as well as sales and marketing and research and
                   product development.

                    BRS also stated in these three documents that “Investors will be relying on the
                    good faith determination made by the company’s management with respect to
                    the allocation of the proceeds for sales and marketing, product development,
                    and corporate expenses.”

                b. In the two 2013 Executive Summaries and one 2014 Executive Summary, BRS
                   stated that investor funds would be used for “Growth / Mezzanine Funding”
                   without any detail.

                c. BRS stated in the 2015 Executive Summary, generally, that it would use
                   investor funds to execute its business plan, reach better markets, and continue
                   product development.

                d. BRS said in the 2015 Presentation that investors’ funds would be used for
                   “Mezzanine funding to IPO/Acquisition” and also disclosed generally that
                   investor funds would be used to penetrate new markets, continue product
                   development, and expand sales.

       25.    In fact, contrary to BRS’s representations that investor funds would be used for

legitimate business purposes, as described further below, Defendants diverted millions of dollars

from BRS for Davis’s own use. Of the $28 million that BRS and Davis raised from investors

between January 2013 to July 2015, Davis diverted $7.8 million – nearly 28% – for his own

personal benefit.

       26.    Defendants knew, or were reckless in not knowing, that BRS’s statements regarding

the intended use of proceeds in the offering documents were materially false and misleading.




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Davis knew that these statements to investors were false and misleading because Davis himself

diverted millions of dollars of BRS investor funds to his shell companies’ bank accounts and to

the antiques broker, all for his own benefit.

         b. Executive Compensation

       27.   In the 2012 PPM and 2013 PPM, which were distributed to prospective investors

from January 2013 to July 2015, BRS made the materially misleading disclosure that Davis

received only a nominal salary from the company. In particular, BRS stated in both of these

offering documents that:

               Effective January 1, 2010, Mr. Davis voluntarily elected to reduce
               his annual salary to $24,000 . . . . Mr. Davis continues at a total
               compensation of $24,000 per year (plus medical benefits as are
               standard for all employees) and holds no warrants to purchase
               additional stock. (emphasis added.)

       28.   BRS’s statements were materially misleading because the offering documents

did not disclose the amounts Davis received from BRS using fraudulent invoices submitted

for Blackstone, Afcon, and LS Farrow.

       29.   Using false invoices to make the payments appear legitimate, Davis caused

BRS to pay Blackstone approximately $757,000 in 2010, $1.7 million in 2011, $1.6 million

in 2012, $1.9 million in 2013, and approximately $987,000 in 2014, all of which was

ultimately for Davis’s own benefit.

       30.   Similarly, using false invoices to make the payments appear legitimate, Davis

caused BRS to pay Afcon approximately $3.2 million in 2014 and another $930,000 in

2015, all of which was ultimately for Davis’s own benefit.

       31.   In 2013 and 2014, Davis caused BRS to pay an antiques broker in the United

Kingdom approximately $195,000 and $484,000, respectively, all of which was ultimately

for Davis’s own benefit. In an effort to make at least the three payments BRS made to the


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antiques broker in 2014 appear legitimate, Davis submitted, or caused to be submitted, to

BRS fake LS Farrow invoices.

       32.   Defendants knew, or were reckless in not knowing, that the statements

regarding executive compensation in the offering documents were materially false and

misleading. Davis knew that these statements to investors were false and misleading

because Davis himself diverted millions of dollars of BRS investor funds to his shell

companies’ bank accounts and to the UK antiques broker, all for his own benefit.

       c.    Related Party Transactions

       33.   BRS made additional misleading statements in both the 2012 PPM and 2013

PPM. Specifically, its statements in these offering documents regarding related party

transactions referenced shares BRS issued to Davis as “Founders Capital,” shares Davis

purchased and gave to family members, and shares issued to other company executives for

“services rendered.” Notably, BRS also disclosed as related party transactions payments it

made to a company related to its former chief technology officer (“CTO”).

       34.   Although the PPMs disclosed the transactions between Davis and BRS

involving company shares, BRS’s statements on related party transactions were materially

misleading because they did not disclose all of the material transactions “related to” Davis.

       35.   Specifically, although BRS’s disclosures regarding the payments to the

former CTO’s company indicate such payments are related party transactions, BRS did not

disclose in the PPMs that by 2013 it had paid millions of dollars to Blackstone – a company

controlled by, and thus related to, Davis.

       36.   Defendants knew, or were reckless in not knowing, that these related party

transaction statements in the offering documents were materially false and misleading.




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Davis knew that these statements to investors were false and misleading because Davis

himself diverted millions of dollars of BRS investor funds to his shell companies’ bank

accounts and to the UK antiques broker, all for his own benefit.

       d.       Operating Expenses

       37.      In the 2012 PPM, 2013 PPM, and 2015 CIM, BRS also made materially false

and misleading statements to prospective investors regarding its operating expenses for

recent years.

       38.      BRS’s statements regarding operating expenses were materially misleading

because they included as purportedly legitimate business expenses the millions of dollars

Davis caused BRS to pay Blackstone, Afcon, and LS Farrow using fake invoices:

   Year             Source of              Disclosed            Misappropriated       Percentage of
                    Disclosure         Operating Expenses           Funds             Overstatement
   2010      2012 and 2013 PPMs          $     10,636,744        $       756,936            8%
   2011      2012 and 2013 PPMs          $     15,584,739        $     1,741,688           13%
   2012           2013 PPM               $     15,702,917        $     1,559,057           11%
   2014           2015 CIM               $     24,026,665        $     4,702,294           24%

       39.      As a result, BRS gave investors the false impression that it had significantly

greater operating expenses than it had actually incurred.

       40.      Defendants knew, or were reckless in not knowing, that the statements

regarding BRS’s operating expenses in the offering documents were materially false and

misleading. Davis knew that these statements to investors were false and misleading

because Davis himself diverted millions of dollars of BRS investor funds to his shell

companies’ bank accounts and to the UK antiques broker, all for his own benefit.

       C. Davis Substantially Assisted BRS in Making Materially False and Misleading
          Statements to Prospective Investors

       41.      As the highest-ranking executive at BRS and the executive in charge of fund



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raising, Davis provided knowing and substantial assistance to BRS by participating in drafting

BRS’s offering documents, approving them, authorizing their distribution to prospective

investors, distributing them to prospective investors, and personally using them to raise funds for

BRS.

       42.   Davis often reiterated BRS’s misstatements when he spoke to prospective

investors, legitimizing and confirming misstatements he knew to be false.

       43.   Throughout the scheme, Davis spoke frequently with potential investors in

order to raise funds. During both in-person meetings and conference calls, Davis provided

prospective investors with misleading information that echoed the misstatements and

omissions BRS made in the offering documents. For example:

               a. Davis told several investors that he was taking only $24,000 from the company
                  as his annual salary.

               b. In response to an investor’s question about how much money BRS was
                  spending on a monthly basis, Davis said the expenses were related to the cost of
                  going public as well as legal fees and explained that he was doing everything he
                  could to bring the costs down.

       44.   In both cases, Davis misleadingly omitted any explanation of the significant

payments BRS made to Blackstone, Afcon, and LS Farrow for his benefit.

       45.   Davis knew, or was reckless in not knowing, that BRS’s statements to

prospective investors were materially false and misleading because Davis diverted, or

caused to be diverted, millions of dollars of BRS investor funds to the bank accounts of

Blackstone, Afcon, and the UK antiques broker, all for Davis’s own benefit.

       D.      Defendants Used Shell Companies, A Fictitious Entity, and Fake Invoices to
               Siphon Millions of Dollars Raised from BRS Investors

       46.   As part of the fraudulent scheme, beginning in at least 2010, Davis engaged

in deceptive conduct to siphon investor funds from BRS. Davis used shell corporations



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that he controlled (Blackstone and Afcon), a fictitious entity he invented (LS Farrow), and

false invoices in the names of these entities for services purportedly provided to BRS.

Specifically, Davis caused BRS to send payments to bank accounts that he controlled in the

names of Blackstone and Afcon as well as to pay a third-party UK antiques broker for his

personal purchases of ancient and antique jewelry, gold, and other artifacts. Davis used the

fake invoices in these entities’ names to make these payments appear legitimate.

                  a. Blackstone

       47.   Davis began serving as Blackstone’s Director and President in February

2010. In February 2010, Davis also opened a bank account in Blackstone’s name. Davis

was the only authorized signatory on Blackstone’s bank account and one of only two

authorized signatories on BRS’s bank account. Davis controlled Blackstone as well as

the bank account he opened in its name.

       48.   From March 2010 to March 2015, Davis caused BRS to make 133 wire

transfers totaling approximately $6.9 million to the account he controlled in Blackstone’s

name. Blackstone’s only material source of income was the payments it received from

BRS.

       49.   To make the payments to Blackstone appear legitimate, Davis submitted, or

caused to be submitted, fraudulent invoices to BRS. The fictitious invoices included

Blackstone’s name, an email address for Blackstone, and a mailing address for

Blackstone. However, the address on the invoice was actually Blackstone’s registered

agent’s mailing address in Colorado.

       50.   The invoices indicated that Blackstone had provided BRS with “search

engine optimization” services by contracting with several well-known companies.




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However, those companies never had any relationships with Blackstone and no such

services were ever provided to BRS.

       51.    Davis used the funds transferred from BRS to Blackstone to fund his

personal bank account and to purchase art and antiquities from a variety of vendors. For

example, Davis transferred approximately $4.6 million from Blackstone to the joint bank

account he held with his wife and spent $4,000 at an art gallery in Boca Raton, Florida.

       52.    Davis knew, or was reckless in not knowing, that no legitimate services

were provided to BRS in exchange for the $6.9 million in payments he caused BRS to

make to Blackstone and that BRS’s statements in the offering documents, including that

investor funds would be spent on legitimate operating expenses, were therefore false and

misleading.

               b. Afcon

       53.    During the Relevant Period, Davis was the owner, and later President and

Director, of Afcon. In January 2014, Davis opened a bank account for Afcon and was the

account’s only authorized signatory. As noted, he was also one of only two authorized

signatories on BRS’s bank account. Davis controlled Afcon as well as the bank account

he opened in its name.

       54.    From January 2014 to March 2015, Davis caused BRS to initiate 21 wire

transfers to Afcon totaling approximately $4.2 million. Afcon’s only material source of

income was the payments it received from BRS.

       55.    To make the payments to Afcon appear legitimate, Davis submitted, or

caused to be submitted, to BRS fraudulent invoices seeking payment for services that

were never provided. The invoices included general descriptions of the services Afcon




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purportedly provided to BRS such as “financial consulting” and “public relations.”

       56.    The address on the Afcon invoices was its registered agent’s mailing address

in Wyoming. A logo that appeared on the fake invoices was actually the logo for an

Israeli industrial controls company with a name similar to Afcon’s. Davis had previously

received an email from the Israeli company that included the logo.

       57.    Davis used the money he caused BRS to transfer to Afcon for his own

benefit. For example, Davis transferred approximately $3.5 million from Afcon’s

account to the Davises’ joint bank account and $498,000 to the Blackstone bank account

that he controlled.

       58.    Davis knew, or was reckless in not knowing, that no legitimate services

were provided to BRS in exchange for the $4.2 million in payments he caused BRS to

make to Afcon and that BRS’s statements in the offering documents, including that

investor funds would be spent on legitimate operating expenses, were therefore false and

misleading.

                  c. LS Farrow

       59.    Davis also created a fictitious entity named LS Farrow to cause BRS to pay

an antiques broker with a similar name operating from the United Kingdom for Davis’s

personal purchases of ancient and antique jewelry, gold, and other artifacts.

       60.    From December 2013 to November 2014, Davis caused BRS to make five

wire transfers totaling approximately $679,000 to the bank account of the United

Kingdom antiques broker. Again, Davis was one of only two authorized signatories on

BRS’s bank accounts.

       61.    To make the three wire transfers sent in 2014 appear legitimate, Davis




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submitted, or caused to be submitted, to BRS fraudulent invoices purportedly from LS

Farrow. The invoices included an address in Victoria, Australia as LS Farrow’s business

address and claimed that LS Farrow provided “financial services” to BRS.

       62.    The invoice address for LS Farrow, however, was actually the address of an

Australian cemetery where an individual named LS Farrow is interred. No entity named

LS Farrow provided any financial services to BRS, nor did the UK antiques broker who

received the payments provide any financial services to the company.

       63.    Rather, from October 2012 to November 2014, Davis purchased dozens of

items from the antiques broker, communicating by email with the broker regarding the

items he purchased. These emails included:

             a. descriptions of, among other items, earrings, silver brooches, gold coins, gold

                necklaces, and gold rings Davis purchased;

             b. the prices Davis paid for the items; and

             c. the bank account number for the account to which BRS sent payments.

       64.    Notably, Davis caused BRS to wire the $679,000 to the same account

number provided to Davis in the emails from the antiques broker regarding payment for

Davis’s personal purchases.

       65.    The antiques broker also emailed Davis invoices requesting payment for the

items Davis purchased and directed Davis to send the funds to the antique broker’s bank

account. The fake LS Farrow invoices that Davis submitted, or caused to be submitted,

to BRS were bills for the exact amounts requested in the antique broker’s invoices and

matched the amounts Davis caused BRS to send to the antique broker.

       66.    On more than one occasion, Davis requested that the antiques broker use




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Davis’s personal email address, explaining that “its [sic] probably not appropriate to be

using” his BRS email address to discuss their transactions.

       67.     Payments for the items Davis purchased were almost entirely from two

sources: approximately $66,000 from Blackstone’s bank account, which contained

almost exclusively funds Davis siphoned from BRS; and approximately $679,000 sent

directly from a BRS bank account, as described above.

       68.     Davis knew, or was reckless in not knowing, that no legitimate services

were provided to BRS in exchange for the $679,000 in payments he caused BRS to make

to the antique broker and that BRS’s statements in the offering documents, including that

investor funds would be spent on legitimate operating expenses, were therefore false and

misleading.

                                  FIRST CLAIM FOR RELIEF

                           Violations of Securities Act Section 17(a)(2)
                                    (Against Defendant BRS)

       69.     All of the foregoing paragraphs are incorporated by reference herein.

       70.     By engaging in the conduct described above, BRS, in the offer or sale of

securities, by use of the means of instruments of transportation or communication in

interstate commerce or by use of the mails, directly or indirectly, obtained money or

property by means of untrue statements of material fact or by omitting to state a material

fact necessary in order to make the statements made, in light of the circumstances under

which they were made, not misleading.

       71.     While engaged in the conduct described above, BRS acted at least

negligently.

       72.     By engaging in the conduct described above, BRS violated, and unless



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restrained and enjoined will continue to violate, Section 17(a)(2) of the Securities Act [15

U.S.C. § 77q(a)(2)].

                                 SECOND CLAIM FOR RELIEF

              Violations of Exchange Act Section 10(b) and Rule 10b-5(b) thereunder
                                    (Against Defendant BRS)

       73.       All of the foregoing paragraphs are incorporated by reference herein.

       74.       By engaging in the conduct described above, BRS, in connection with the

purchase or sale of securities and by the use of the means or instrumentalities of interstate

commerce or of the mails, or of the facilities of a national securities exchange, directly or

indirectly, made untrue statements of a material fact or omitted to state a material fact

necessary in order to make the statements made, in light of the circumstances under

which they were made, not misleading.

       75.       While engaged in the conduct described above, BRS acted knowingly or

recklessly.

       76.       By engaging in the conduct described above, BRS violated, and unless

restrained and enjoined will continue to violate, Section 10(b) of the Exchange Act [15

U.S.C. § 78j(b)], and Rule 10b-5(b) thereunder [17 C.F.R. § 240.10b-5(b)].

                                  THIRD CLAIM FOR RELIEF

                 Aiding and Abetting Violations of Securities Act Section 17(a)(2)
                                   (Against Defendant Davis)

       77.      All of the foregoing paragraphs are incorporated by reference herein.

       78.      By reason of the conduct described above, and as alleged in the First Claim

for Relief, BRS violated Section 17(a)(2) of the Securities Act [15 U.S.C. § 77q(a)(2)].

By engaging in the conduct described above, Davis knowingly or recklessly provided




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substantial assistance that aided and abetted BRS’s violations of Section 17(a)(2) of the

Securities Act [15 U.S.C. § 77q(a)(2)].

       79.   Accordingly, pursuant to Section 15(b) of the Securities Act [15 U.S.C. §

77(o)(b)], Davis is liable for those violations.

                                FOURTH CLAIM FOR RELIEF

      Aiding and Abetting Violations of Exchange Act Section 10(b) and Rule 10b-5(b)
                                        thereunder
                                (Against Defendant Davis)

       80.   All of the foregoing paragraphs are incorporated herein by reference.

       81.   By engaging in the conduct described above, and as alleged in the Second

Claim for Relief, BRS violated Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)]

and Rule 10b-5(b) thereunder [17 C.F.R. § 240.10b-5(b)]. By reason of the conduct

described above, Davis knowingly or recklessly provided substantial assistance to and

thereby aided and abetted BRS’s violations of Section 10(b) of the Exchange Act [15

U.S.C. § 78j(b)] and Rule 10b-5(b) thereunder [17 C.F.R. § 240.10b-5(b)].

       82.   Accordingly, pursuant to Section 20(e) of the Exchange Act [15 U.S.C. §

78t(e)] Davis is liable for those violations.

                                  FIFTH CLAIM FOR RELIEF

                      Violations of Securities Act Sections 17(a)(1) and (3)
                              (Against Defendants BRS and Davis)

       83.   All of the foregoing paragraphs are incorporated herein by reference.

       84.   By engaging in the conduct described above, BRS and Davis, singly or in

concert, in the offer or sale of securities and by the use of the means or instruments of

transportation or communication in interstate commerce or by use of the mails directly or

indirectly (i) employed devices, schemes, or artifices to defraud; and (ii) engaged in



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transactions, practices, or courses of business which operated or would operate as a fraud

or deceit upon the purchasers of the securities.

       85.   While engaged in the conduct described above, BRS and Davis acted

knowingly, recklessly, or negligently.

       86.   By engaging in the conduct described above, BRS and Davis violated, and

unless restrained and enjoined will continue to violate, Sections 17(a)(1) and (3) of the

Securities Act [15 U.S.C. §§ 77q(a)(1) and (3)].

                                 SIXTH CLAIM FOR RELIEF

      Violations of Exchange Act Section 10(b) and Rules 10b-5(a) and (c) thereunder
                          (Against Defendants BRS and Davis)

       87.   All of the foregoing paragraphs are incorporated by reference herein.

       88.   By engaging in the conduct described above, BRS and Davis, in connection

with the purchase or sale of securities and by the use of the means or instrumentalities of

interstate commerce or of the mails, or of the facilities of a national securities exchange,

directly or indirectly: (i) employed devices, schemes, or artifices to defraud; and (ii)

engaged in acts, transactions, practices, or courses of business which operated or would

operate as a fraud or deceit upon other persons.

       89.   While engaged in the conduct described above, BRS and Davis acted

knowingly or recklessly.

       90.   By engaging in the conduct described above, BRS and Davis violated, and

unless restrained and enjoined will continue to violate, Section 10(b) [15 U.S.C. § 78j(b)]

of the Exchange Act and Rules 10b-5(a) and (c) thereunder [17 C.F.R. § 240.10b-5(a)

and (c)].




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                              SEVENTH CLAIM FOR RELIEF

                          Disgorgement from Relief Defendants
   (Against Relief Defendants Blackstone Group, Inc., Afcon Communications, Inc., and
                                      Debra Davis)

       91.   All of the foregoing paragraphs are incorporated by reference herein.

       92.   As set forth in this Complaint, the Relief Defendants have received funds

and assets from one or more of the Defendants, which are the proceeds of, or are

traceable to the proceeds of, the unlawful activities of the Defendants as alleged above.

       93.   Relief Defendants have obtained the funds and assets as part of and in

furtherance of the securities violations alleged above and under the circumstances it is not

just, equitable or conscionable for them to retain the funds and assets. As a consequence,

Relief Defendants Blackstone Group, Inc., Afcon Communications, Inc., and Debra

Davis have been unjustly enriched.

                                   REQUEST FOR RELIEF

For these reasons, the Commission respectfully requests that the Court enter a final judgment:

   a) Permanently enjoining BRS and Davis from violating Section 17(a) of the Securities Act

   and Section 10(b) of the Exchange Act and Rule 10b-5 thereunder;

   b) Ordering BRS and Ray Davis to disgorge all ill-gotten gains, with prejudgment interest;

   c) Ordering Relief Defendants Blackstone Group, Inc.; Afcon Communications, Inc.; and

   Debra Davis to disgorge any gains or proceeds they received that are connected to the

   conduct described above;

   d) Ordering Ray Davis to pay civil penalties under Section 20(d) of the Securities Act [15

   U.S.C. § 77t(d)] and Sections 21(d)(3) and 21A of the Exchange Act [15 U.S.C. §§ 78u(d)(3)

   and 78uA]; and




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    e) Granting such other relief as the Court may deem just and appropriate.

                                       JURY DEMAND

        Pursuant to Federal Rule of Civil Procedure 38, the Commission demands a trial by jury

on all issues so triable.



                                       Respectfully submitted,



                                       /s/ Melissa J. Armstrong_______________
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